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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: July 09, 2021.

                                                             __________________________________
                                                                       TONY M. DAVIS
                                                             UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________


                         IN THE UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

   IN RE:                                        §
                                                 §             CASE NO. 21-10436-tmd
   MARY BRENNA RYLEE,                            §
                                                 §                  CHAPTER 11
             Debtor.                             §                (SUBCHAPTER V)

                            ORDER GRANTING
     DEBTOR’S EXPEDITED APPLICATION FOR RETENTION OF THE HAYGOOD
       LAW FIRM PURSUANT TO 11 U.S.C. § 327(e) AS FAMILY LAW COUNSEL
                           (Related to Dkt. No. 49)

           On this day, came on for consideration the Expected Application for Retention of the

  Haygood Law Firm Pursuant to 11 U.S.C. § 327(e) as Family Law Counsel (Dkt. No. 49) (the

  “Application”) filed by Mary Brenna Rylee (the “Debtor”), seeking approval of the Court to

  allow the Haygood Law Firm (the “Firm”) to serve as family law counsel, as more particularly

  set forth in the Application.

           Lane A. Haygood and the Firm have represented to this Court that the Firm holds or

  represents no interest adverse to the Debtor or her estate, that it is disinterested, and that its




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  employment is in the best interest of the estate. The Court finds that the motion has merit and

  should be GRANTED. It is therefore

           ORDERED that Debtor is authorized to employ the Firm as family law counsel pursuant

  to 11 U.S.C. § 327(e), with all fees payable subject to interim and/or final application to and

  approval of this Court; and it is further

           ORDERED that the Firm shall comply in all respects with W.D. Tex. L. Rule 2016.

                                               ###


  Submitted by:

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  MARY BRENNA RYLEE




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